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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 9:15-cv-80901-BB

 YVOLAINE CLEDOR,

        Plaintiff,
 v.

 VERIZON WIRELESS,

       Defendant.
 ________________________________/

                NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

        In accordance with the agreement reached and the executed settlement agreement between

 the parties, Plaintiff Yvolaine Cledor hereby files this Voluntary Dismissal with Prejudice.

                                                          Respectfully Submitted,

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                                                          Attorneys for Plaintiff
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                                                          By: /s/ Chad J. Robinson
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                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 5th day of January, 2016, I electronically caused the

 foregoing document to be filed with the Clerk of Court using CM/ECF. I also certify that the

 foregoing document is being served this day on all counsel of record in the manner specified via

 transmission of Notices of Electronic Filing generated by CM/ECF.




                                                         /s/ Chad J. Robinson
                                                         Chad J. Robinson




                                                   -2-
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